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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS                                             §           NO. 5:18-CR-00525-OLG-1
                                               §
LEO EDWARD FERNANDEZ                           §


                MOTION TO WITHDRAW AS ATTORNEY OF RECORD

       COMES NOW ALAN BROWN, Attorney, and in accordance with the Code of

Professional Responsibility of the State Bar of Texas, moves that he be permitted to withdraw as

attorney of record for LEO EDWARD FERNANDEZ in the above-entitled and numbered cause

and in support thereof would show unto the Court as follows:

                                               I.

       The Honorable ALAN BROWN has been established as Counsel in the above-entitled and

numbered cause.

                                              II.

       The defendant entered Plea Agreement and was Sentenced on September 03,2021.

                                              III.

       On February 08, 2022, the Defendant entered a Pro Se Motion to Notice of Appeal with

this Court. The Defendant did so without consulting the Undersigned. Had the Defendant consulted

with the Undersigned, Counsel would have informed the Defendant that, in his opinion, the

Defendant’s Pro Se Notice of Appeal is well past the fourteen (14) day deadline set by FED R

APP. P. 4 (b) (1) (A).
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                                                IV.

          The Undersigned was appointed and prepared for proceedings by Trial or Plea only. The

Undersigned believes that he is not able to provide effective legal counsel to the Defendant for any

Appeal proceedings on this case. The Undersigned is of the opinion that it is in the Defendant’s

best interest to hire another attorney or request the Court to appoint another one by the court.

                                                 V.

          That ALAN BROWN is no longer being appointed to case by the CJA Panel and believes

he has fulfilled his obligation insofar as his representation through Plea and Final Disposition. The

undersigned was not consulted or retained by the Defendant to handle any possible Appeal

proceedings.

                                                VI.

          Additionally, the undersigned recently underwent a medical procedure and is currently

under travel restrictions from his doctor. This restriction further prevents counsel from providing

effective counsel and therefor the undersigned respectfully request to withdraw as attorney of

record.

          WHEREFORE, premises considered, in light of the aforementioned factors, the

undersigned respectfully requests permission to withdraw as attorney of record in this cause and

respectfully request for the Court to allow the defendant to hire another attorney or for one to be

appointed.
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                                                           Respectfully submitted,

                                                           LAW OFFICES OF ALAN BROWN
                                                           222 MAIN PLAZA
                                                           SAN ANTONIO, TEXAS 78205
                                                           (210) 227-5103 (O)
                                                           (210) 225-2481 (FAX)
                                                           federal@alanbrownlawoffices.com


                                                                      /S/
                                                           ALAN BROWN
                                                           STATE BAR NO. 03090000

                                                           ATTORNEY FOR THE DEFENDANT




                                       CERTIFICATE OF SERVICE


       I hereby certify that on the 29th day of March 2022, I electronically filed the foregoing with the

Clerk of Court using the CE/ECF and or EMIAL system which will send notification of such filing to the

following:


U.S. Attorney’s Office
601 NW Loop 410, Suite 600
San Antonio, Texas 78216

Office of the Clerk
U.S. Court of Appeals, 5th Circuit
600 S. Maestri Place
New Orleans, LA 70130-3408

                                                                 /S/    .
                                                             ALAN BROWN
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
VS                                               §           NO. 5:18-CR-00525-OLG-1
                                                 §
LEO EDWARD FERNANDEZ                             §

                                             ORDER

       On this day came on for consideration the Motion to Withdraw as Attorney of Record.

After consideration of same, this court is of the opinion that said motion be

                                    GRANTED or DENIED.

IT IS HEREBY ORDERED THAT: ___________________________________

______________________________________________________________________________

__________________________________________________________________

SIGNED and ENTERED on this the ____ day of ________________, 2022.




                                                       ______________________________
                                                           US DISTRICT JUDGE
